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 5                       UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
 6                            OAKLAND DIVISION

 7 IN RE COLLEGE ATHLETE NIL                  CASE NO. 4:20-cv-3919-CW
   LITIGATION
 8                                            [PROPOSED] ORDER GRANTING MOTION
                                              FOR ADMINISTRATIVE RELIEF
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10                                            Judge: Hon. Claudia Wilken

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                                                              No. 4:20-cv-3919-CW
                                     [Proposed] Order
     Case 4:20-cv-03919-CW         Document 795-5         Filed 04/14/25      Page 2 of 2




 1         This matter comes before the Court to determine whether to grant leave to four former

2 student-athletes, Seth Beer, Benjamin Burr-Kirven, Yoeli Childs, and James Okonkwo, to opt out of

3 the Class Settlement in College Athletes NIL Litigation, No. 4:20-CV-03919 (N.D. Cal).

4          IT IS HEREBY ORDERED, ADJUDGED, AND DECREED THAT:

5          Seth Beer, Benjamin Burr-Kirven, Yoeli Childs, and James Okonkwo are granted leave to opt

6 out of the Class Settlement.

7          IT IS SO ORDERED.

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9    Dated:
                                                    The Honorable Claudia Wilken
10                                                  United States District Court Judge
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                                                      1                  No. 4:20-cv-3919-CW
                                               [Proposed] Order
